16-10020-tmd Doc#445 Filed 10/11/19 Entered 10/11/19 14:40:55 Main Document Pg 1 of 2




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is MOOT.



  Dated: October 11, 2019
                                                    ________________________________________
                                                                 TONY M. DAVIS
                                                       UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION


      IN RE:

      FPMC AUSTIN REALTY

                                                T§
                                                 § Chapter 11
                                                 §
                                                 § CASE NO. 16-10020-TMD
      PARTNERS, LP,
                                  O              §
                                                 §
                   Debtor.                       §


                            ORDER GRANTING REQUEST FOR PAYMENT
                     O
                                OF ATTORNEYS’ FEES AND COSTS

               Came on for consideration the Request for Payment of Attorneys’ Fees and Cost

      (the “Motion”) filed by Howard Spector, Receiver of Neal Richards Group Austin
M

      Development, LLC, the general partner of Reorganized Debtor FPMC Austin Realty

      Partners, LP (the “Receiver”). After considering the Motion, any responses or objections

      to the Motion, and the Court’s prior rulings, the Court finds that the fees and expenses

      requested by the Receiver were necessary and reasonable and the Motion should be

      GRANTED.




      {01462/0001/00236136.1}
16-10020-tmd Doc#445 Filed 10/11/19 Entered 10/11/19 14:40:55 Main Document Pg 2 of 2




               Accordingly, IT IS THEREFORE ORDERED that Todd Furniss and

      glendonTodd Capital LLC pay the Receiver’s attorneys’ fees and costs in the amount of

      $83,520.28 on or before September 21, 2019.

                                              ###


      ORDER SUBMITTED BY:
      Rhonda B. Mates
      State Bar No. 24040491
      STREUSAND, LANDON, OZBURN & LEMMON, LLP
      1801 South Mopac Expressway., Ste. 320
      Austin, Texas 78746
      Telephone: (512) 236-9900
      Facsimile: (512) 236-9904
      mates@slollp.com




                                               T
      ATTORNEYS FOR
      HOWARD MARC SPECTOR,
      RECEIVER FOR FPMC AUSTIN REALTY
      PARTNERS, LP AND NEAL RICHARDS GROUP, LLC
                                O
                     O
M


      {01462/0001/00236136.1}
                                                2
